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Exhibit N
UN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT GF LOUISIANA

American Civil Liberties Union of Lonisjana; Louisiana
Chapter of the National Lawyers’ Guild, New Orleans Workers’
Centdr for Racial Justice; Black Youth Project 100,

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2 Plaintiffs

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-VS-

Cily of Baton Rouge; Baton Rouge Police Department; Carl
Dabadis, Jv., in his official capacity as Chief of the Baton Rouge
Police Department; Louisiana State Police; Lovisinana
Depatiment of Public Safety; Col. Michael Edmonson, in his
official capacity as Superintendent of the Louisiana State Police;
ast Baton Rouge Sheriff's Department; Sid J. Gautreaux TH, in
his official capacity as Sheriff of the East Baton Rouge Sheriff's
Department; Jeff Landry, in his official capacity as Attorney
General of the State of Louisiana; Kip Holden in his official
capacity as the Mayor-President of East Baton Rouge Parish:
Hillar C, Moore, III, in lis official capacity as District Aliorney
for East Baton Rouge Parish; Department of Public Safety
{Louisiana Staté Police)

Defendants.

DECLARATION OF CARESSA CHESTER

Pursuant to 28 U.S.C.§ 1746, [hereby declare as follows:

 

CIVIL ACTION
NO:

Motion for Temporary
Restraining Order
and Preliminary
Injunction

Oral Argument
Requested

l, My name is Caressa Chester. My date of birth is July 12", 1990.
.  Lattended the protest in Baton Rouge on Sunday, July 10", 2016. I am not
affiliated with any organization. | was in my capacity as an outraged and
concerned citizen who wanted to take action against the many unjust killings of

black citizens by the police.

 

3. T arrived in Baton Rouge at or around 4:30 PM on July 10" in a car with three
other people. Two of the people are also black and unaffiliated with any
organization. One of the people was a friend who was coming to act as a Legal
Observer to the protest in her capacity as a stalfmember of the New Orleans

Workers Center for Racial Justice,

4, We were driving to a church where the protest was supposed to begin, but by the
time we arrived, the crowd had already moved into a mixed residential and
commercial neighborhood. I later learned that the protesters had attempted to
block the freeway but had been prevented from doing so by the police.

5, We parked the car when we found a spot and joined the crowd chanting, near a

MeDonald’s. I don’t know Baton Rouge very well.

6. From my point of view, the protest was, at this time, completely peacctul. Police
occupied one side of the street, and protesters occupied the other. As protestors,
we were chanting but there was a significant distance between us and the police,
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and I did not witness a single protester confronting the police, No cars were
passing between us and the police.

The protest was the largest I had ever been to inmy life, and I have attended
many protests in New Orleans where I currently live. There were so many

“ protestors they were overflowing onto the street from the sidewalk.

Roughly 15 minutes afterT arrived, police wearing full riot gear with large puns
in hand marched towards us. Behind them was a tank, with at feast one person
perched atop it carrying a megaphone, The police were all wearing dark blue or
black uniforms, marching in military style. There were at least 100 cops, from
my perspective. The cop on top of the tank began ordering for protesters to get
out of the street,

Immediately after the police began givirig their orders, someone in the protest
yelled for the white people to take front positions in the crowd, Immediately, at
least 50 white people moved up. In my opinion, roughly 30-40% of the
protestors were white; the remainder were black.

At this point, the white people who had taken positions at the front were
standing on a median in the middle of the road. The crowd continued to chant
while all of this was surpassing,

I then saw a young black male protester trying to cross the street get tackled and
arrested by the police. | was shocked because from what J could see, he was

- nowhere near the police, and he was simply crossing the street, I assume to be

with his friends. I cannot remember whether the police who tackled and arrested
him were uniformed or undercover; because he was so far away from the lines of
military style police f cannot be sure.

The police kept ordering us back out of the street, and after watching an innocent

protester get thrown to the ground people began to comply. Eventually, everyone
was off the median, onto the sidewalk and into a lady’s private, partially fenced

in yard. 1 had heard this lady - a middle-aged black woman - invite protesters

onto her lawn earlier, 1 felt that she had done so knowing that it was her right as

a landowner to have protesters on her lawn.

At some point, despite the fact that nothing had changed, and no protester had
provoked the police, the megaphone announced: “THIS IS NO LONGER A
PEACEFUL PROTEST.” [was surprised because in my opinion, the protest was

 

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completely peacetul. I could not hear the remainder of what the police
announced, becausc I could only hear the protestors dissatisfaction and disbelief
with the police’s arbitrary announcement.

Every so often, the police would march a few yard towards us in a line with the
tank rolling up behind them. The police also kept reaching into their pockets and
appeared to be threatening to tear gas the crowd, The police were also laughing
at us. The majority were white,

The crowd stood their ground but over time it became clear that if you were
sticking out of the crowd in any way, the police would tackle you to the ground,
handcuff you and take you away.

A second group of police then became visible, marching forward and backing
part of the crowd towards the church from which the protest had originated.
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Then, the first group of military style police moved onto the lady’s yatd where
there were many, many protesters, partially fenced in. I watched as the cops
brutally. tackled, shoved, and arrested protesters. | saw a cop grab someone and
throw them on the ground; [ saw a cop throw someone and let them g0. The first
thing I saw was a cop literally tackling someone to the ground and handenffing
them; they were being extremely aggressive, Their aggression and the arbitrary
way they were arresting people who were fenced in and had nowhere to go was
what scared me.
When I realized that they were really hi hite ting people and with no respect for the
landowner’s property or the fact that there was no way to disperse, I began to run
back with other protesters in fear. The vyorst part was that the police were
breaking the law, or at least showing no respect for it, particularly when
protesters thought what they were doing was law abiding and peaceful.
Then, the police would form a wall blocking our path, arresting more protesters.
We would then run in a different direction, until we were halfway back to the
church, After a few times of having the cops move on us, what had once been a
solid crowd was now dispersed everywhere - some to the church; some to the

-.. '. McDonald’s parking lot, and some into the neighborhood.
al,

[stayed with different groups in different parking lots for another 90 minutes,

‘discussing the protest and bouncing ideas off of each other. After nightfall, a

group went to triple EZ. where Alton Sterling had been shot, but it was dark and J
was scared that thing¢‘would become even more out of hand and dangerous
there.

Running from the police felt worse than political inaction, so eventually I left.

T don’t know what happened to the landowning black lady who kindly let us onto
her property.

_ Since the protest, [have not been able to shake a feeling of fear and sadness. To

be immediately in-front of a police force that wields so much power and to know
that they do not respect the law, makes it feel impossible to protest. There has

been criticism in the wake of the protest of the organizers and the lack of

discipline among protesters - while there is room for us to strategize more, the
real issue is that people are scared to be seriously injured and arrested by a
police force that has no regard for our légal, peaceful activity.

 

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I feel intensely demoralized. While I will in all likelihood return to the protests, I
don’t think I wilt be returning this week,

Executed on this 12" day of Fuly 2016.

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Caressa Chester
Case 3:16-cv-00463-JWD-RLB Document 2-5 07/13/16 Page 5 of 21

Exhibit O
EN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF LOUISIANA

American Civil Liberties Union of Louisiana; Louisiana
Chapter of the National Lawyers’ Guild, New Orleans
Workers’ Center for Racial Justice; Black Youth Project 0,

City of Baton Rouge; Baton Rouge Police Department; Carl

Plaintiffs,

-VS~

Dabadie, Ir., in his official capacity as Chief of the Baton CIVIL ACTION
Rouse Police Department; Louisiana State Police; Louisinana NO.:

Department of Public Safety; Col, Michael Edmonson, in his
official capacity as Superintendent of the Louisiana State
Police; East Baton Rouge Sheriff's Department; Sid J.

Gautreaux I, in his official capacity as Sheriff of the East Motion for

Baton Rouge Sheriff’s Department; Jeff Landry, in his official Temporary

capacity as Attorney General of the State of Louisiana; I¢ip Restraining Order

Holden in his official capacity as the Mayor-President of East and Preliminary

Baton Rouge Parish: Hillar C. Moore, Il, in his official Injunction

capacity as District Attorney for East Baton Rouge Parish;

Deparimeni of Public Safety (Louisiana State Police) Oral Argument
Requested

Defendants.

 

DECLARATION OF MARQUITA D. CHRISTY

Pursuant to 28 U.S.C.§ 1746, hereby declare as foliows:

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My name is Marquita D. Christy. | was born on May 22, 1987. Tam from
Donaldsonville, Louisiana and attend school in Baton Rouge.

On July 10, 2016, I attended the youth-led march in Baton Rouge, beginning at
Wesley United Method Church on Government St.

At this protest, police officers from multiple departments and forces did their best
to stifle our speech over the killing of Alton Sterling by police officers. I could
not decipher where ali the officers were from, but I did see Baton Rouge Police
Department (BRPD) Officers and deputies from the Baton Rouge Sheriff's office.
There were officers in other uniforms present that 1 was not familiar with. The
majority of vehicles that I saw blocking off streets were from the Baton Rouge
Police Department.

Upon first walking up to the crowd, | saw BRPD had Government St. going
toward I-110 blocked off. There were protesters on both sides of the Government
St. and East Blvd. intersection, with the majority on the side closer to France St.
My fellow protesters and 1 saw massive amounts of uniformed officers. The vast
majority of them were dressed in military-like attire and equipped with gas maslcs-
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Some carried clear plastic shields, billy clubs, automatic weapons, helmets with
plastic face shields, zip ties on their waists, and bullet proof vests.

The protest was peaceful when I arrived and throughout the entire time I was
there, until the police made an attempt to disperse the crowd.

When I first arrived at the protest, the police played a loud siren. It was a very
irritating sound that they played for a few minutes.

The protesters were chanting and dialoguing amongst ourselves, expressing how
unnecessary it was for the officers to be dressed in military attire when everything
was so peaceful. Throughout the protest [ was between the corner of Government
St. and East Blvd. and East Blvd. and France St.

The only people J saw on the neutral ground appeared to he media personnel—
photographers, videographers, and newscasters.

I was standing on the grass in between the sidewalk and East Blvd, majority of the
time f was on the sidewalk on the corner of East Blvd. and France St., in front of
the home of the Good Samaritan Baton Rouge resident that allowed protesters to
remain in her yard to avoid spilling over into the street.

I feet the police force presence alone provided a heightened awareness of
potentially bad encounters with them and brought about fear in the people.The
officers’ actions escalated the situation.

Throughout the protest whenever someone walked in the street making the
officers look “antsy”, we would immediately call out to them (the protester) and
ask them to remove themselves from the street to abide by the “law.” This “law”
was ever-changing with each announcement they made on the PA.

At times, throughout the protest the officers would make an “announcement” for
everyone to get on the sidewalk, but the system they used was not loud at all. And
absolutely everything they said was muffled. I believe the bullhorn I had in my
possession was louder. The crowd was constantly confused whenever something
came from their PA system, because it was difficult to actually decipher the
message. | stayed on the sidewalk after another protester let me know the officers
were giving different demands, randomly.

There was no one throwing things at them from what I could see and J was in the
front of the crowd the majority of the time and could see the officers pretty well
right up until they completely closed in the yard. The situation climaxed when the
officers went into the Good Samaritan’s yard and started arresting people and
arresting people on the sidewalk on the outside of her yard. At that time, I was
across the street from the house.

A few times there was an order from a PA the officers had, but the instruction was
never clear. I would only be able to understand every other word and figured
whenever | heard “sidewalk” or “street,” that it was probably a goad idea to be
cognizant of my footing and that of those around me. | do not feel people were
obstructing the sidewalk. Ail people I came across were very polite and
considerate and navigating the sidewalk area was not a problem.

The Good Samaritan lady who let protesters into her yard was trying to help.
There was a large number of people already in her yard, long before the police
charged. However, when they boxed the crowd in, those that were on the sidewalk
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in front of the lady’s yard backed themselves into the yard. It looked like they
were herding cattle.

Some of the police instructions were vague and confusing. We were told to get
out of the street, then after complying we were told to back up on the sidewalk,
after complying with that, when people were in the yard it was stated over the PA
“that’s not good enough.”

It was very difficult to understand what the police were instructing people to do.
Absolutely everything they said was muffled.

At one point, ] did hear the officers state “this is no longer a peaceful protest, if
you don’t move you will be arrested.”

The situation escalated further when it was clear that law enforcement was going
to attempt to box the crowd in. While the officers were blocking the following
intersections: Government St. and East Blvd. (on the J-110 side), France St. and
East Blvd (on the side closer to I-110), and East Blvd. and Europe St., it was
apparent they were getting ready to clear out the crowd. When I noticed this, ]
walked over to Government St. to speak with people I knew who were observing
the protest to see if there was a way for people to lawfully exit and avoid arrest.
Based on the prior events of the weekend we came to the conclusion that it didn’t
really matter what was legal or not, that the law enforcement would do whatever
they wanted. I obtained a bullhorn from someone and proceeded to walk back
towards East Blvd. and France St. at that time, | started to announce to protesters
that we should walk back to the church. A good bit of people started to move, and
around the same time, the officers closed in on the crowd.

Based on how the officers had the streets blocked off the only feasible way to
leave the area was down France St. in the direction of Downtown Baton Rouge. I
think people were afraid to leave because they would have had to walk past the
police. I went in the opposite direction because the people I saw being arrested
were just standing there.

Without the police rushing the crowd and tackling people to the ground to arrest
them, people could have simply walked away from the protest. Instead, the police
caused a panic and people began running.

As a result of police actions, I don’t believe it was possible to leave the area in a
safe manner, because some people were running, some standing still.

I witnessed many people get arrested. They were on the sidewalk or in front of the
lady’s house in the grass or in her actual yard. Those that | witnessed getting
arrested did not seem to be domg anything wrong, the police just tackled them.
Some of the people being arrested would have four to five cops attacking that one
person. Also some of the people arrested in the yard and on the outside of the
fence were thrown to the ground very aggressively.

There were plenty of officers with automatic weapons on them. | did not see the
guns pomted directly at anyone but all the officers had their fingers on the trigger
and appeared ready fo use them when they were in the yard,

I firmly believe that the officers were trying to shut down a peaceful protest
because they were tired of being out there. By violently handling and arresting
people, I would assume that was supposed to be a deterrent for those who luckily
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did not get arrested to not return or attend any other events, to instill fear in them
that arrest was not something so far-fetched.

believe my right to express myself freely was hindered by the actions of the law
enforcement officers present. It was terrifying to protest and continue to chant and
lead chants with officers looking like they were itching to bring harm to these
peaceful people, to watch those across the street (about 4), not dressed in full out
riot garb, taking photos of us, them collectively laughing at us, dancing to chants;
completely missing the importance and seriousness of the reason we were out
there in the first place was even more troubling. I do feel ] was in the right place
at the right time, because the area where a majority of the protesters were arrested
was the very same area I was planted for some time. A girl I stood next to pretty
much the entire time was arrested.

Despite my being afraid, I do not feel it showed on my exterior. 1 led chants,
learned new chants, partially lost my voice. Despite what the enforcement officers
did or could have possible done, | voiced my opinion.

I will not stop either. I will be acting as a legal observer in the days leading up to
the funeral service of Mr. Sterling, as well as attend a prayer vigil.

Executed on this 12th day of July 2016.

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tanita D. Christy ;
Case 3:16-cv-00463-JWD-RLB Document 2-5 07/13/16 Page 10 of 21

Exhibit P
DECLARATION OF RICKY COSTON

Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:

),

My name is Ricky Coston, I was born on October 28, 1993, and except for a short
time right after Hurricane Katrina, I have lived in New Orleans, Louisiana my
entire life.

I am a member of the group Stand with Dignity, and I went to the protests on July
10 with other Stand members and organizers. I wanted to support the protesters in
Baton Rouge because I believe I should have equal rights. I believe that you
shouldn’t hate.

After the march to the Capitol that day, protesters kept walking together. Then,
police stopped the group of protesters and boxed us in one area. [This woman that
lived in that area told protesters that they were welcome to staf her yard.

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Despite this refuge, police were still imtimidating us. They were standing across
the street from the lady’s house, and I could see some of them smirking. It seemed
like they were just waiting to go back to their usual lives, like they knew we
weren't going to be able to change the way that we were treated.

They kept charging us, pushing people to the ground, and arresting protesters. It
seemed like they were just arresting everyone they could.

I was near the woman’s yard, standing right by a silver car and watching police
respond to protesters. The police gave everyone a ten-minute warning, but peeple
started chanting that they couldn’t tell us where to go. When they charged, I was
thinking that I couldn’t believe they were doing that.

At one point, I saw police throw this one girl to the ground, and then suddenly it
looked like the SWAT team was filling the lady’s yard.

Everything happened so quickly. I was really scared, especially for the kids that
were in the area, and ran away and got into a car with two of my friends. We
drove away to safety.

While it was happening, I couldn’t believe that the police were charging at us like
that. It seems like they are not interested in hearing anything we’re trying to say. I
came to this protest because the is a problem with the police and their treatment of
black people. But the police were just laughing at us, mocking us, and then
attacking us.

If police keep responding with violence to peaceful protesters who just want to
talk about the problems with racism, then I’m afraid protesters will respond with

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violence. That’s not good, because violence doesn’t get anything done.

10. I’m so frustrated because what can we do when the police hate us because of the
color of our skin? | et
fe Police

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11. I believe that communities nada a restorative justice model, where police are not
as a punitive as they are now. We need to negotiate. If black people could sit
down and talk with people who have power over the polcgahey could share og Yeon
with them our stories and let them share with us what they “are orried abdut, then
we could start to solve this problem. But right now, the police don’t want to listen Y i '

to us. Neither does anyone else.

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12. But until that happens, we are going to keep protesting. We’re going to keep
demanding more justice. We’re going to keep calling for more peace.
demanding oS ° Pe
Executed on this 12th day of July 2016. “
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Case 3:16-cv-00463-JWD-RLB Document 2-5 07/13/16 Page 13 of 21

Exhibit Q
IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF LOUISIANA

Black Youth Project 100; New Orleans Workers’ Center for
Racial Justice; American Civil Liberties Union of Louisiana;
Louisiana Chapter of the National Lawyers’ Guild,

Plaintiffs,
-Ys-

City of Baton Rouge; Baton Rouge Police Department; Car!
Dabadie, Jr., in his official capacity as Chief of the Baton Rouge CIVIL ACTION
Police Department; Louisiana State Police; Louisiana NO.:
Department of Public Safety; Col. Michael Edmonson, in his
official capacity as Superintendent of the Louisiana State Police;
East Baton Rouge Sheriff's Department; Sid J. Gautreaux II, in

his official capacity as Sheriff of the East Baton Rouge Sheriff's Motion for Temporary
Department; Jeff Landry, in his official capacity as Attorney Restraining Order
General of the State of Louisiana; Kip Holden in his official and Preliminary
capacity as the Mayor-President of East Baton Rouge Parish; Injunction
Hillar C. Moore, Hl, in his official capacity as District Attorney
for East Baton Rouge Parish; Department of Public Safety Oral Argument
(Louisiana State Police) Requested

Defendants.

 

DECLARATION OF JENNA FINKLE
Pursuant to 28 U.S8.C.§ 1746, I hereby declare as follows:
1. My name is Jenna Finkle. I was born August 6, 1991.
2. Police first told us that we couldn't be in the street.
3. Then, police announced on the loudspeaker that we couldn’t even be on the

sidewalk. There were so many people that it was hard to hear what they were
saying.

4, A woman invited us into her yard, and 1 ended up with a group of over 100 people
on a private property on the corner of East and France. Since we had been ordered

to not be on the sidewalk and advised we would be arrested if we were on the
sidewalk, there was nothing to do but stay in the yard.

5. After 30 minutes to an hour, so at 7:30 pm, we saw lines of police in riot gear, and

other officers in green with what looked to me to be automatic assault rifles,
closing in on the house. We were on private property with permission of the
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property owner, so | did not expect police to come onto the property and make
arrests.

I had been standing next to the side of the house near a water spigot. As police
approached the house people began rumning. I still did not think the police would
enter the private property. I was moving backwards, not running, when I was
tackled from the side by a police officer. I did not see him coming. He tackled me
with excessive force, ripped my backpack off and threw it on the ground. He then
took everything out of my pockets, which included a small notebook and two cell
phones, and threw it on the grass. There was a water spigot that at this point was
leaking a stream of water, so I was especially worried about my property.

I asked the officer multiple times to get my property. He refused and he also
refused to answer any of the questions I asked him, including what | was being
arrested for and what his name and badge number were. However, I saw on his
uniform that his name was B. Jones from the Baton Rouge Police Department. He
was a middle aged white man and his uniform was a brighter blue than other
BRPD officers that I saw.

] was not read my Miranda rights or informed of why I was being arrested. I
asked at least 4 different officers and none would go back for my property. One
officer told me this was my fault for protesting. Several others told me this was
city police’s problem, not theirs.

When I entered the jail, before being booked, officers confiscated my glasses.
This was extremely scary and disorienting for me. I am nearsighted and can
barely see without my glasses and cannot recognize faces without my glasses if
people are more than a few feet away.

When I was being printed and booked into jail I specifically asked them to tell me
what my charges were. This is how | found out I was being charged with
obstruction of a highway and resisting arrest.

From approximately 9pm until 3am we were kept in a holding cell. There were
always at least 17 women in the small! holding cell, a maximum of around 24. The
cell had enough space for approximately 8-10 people to sit. There was not enough
space for anyone to lie on the ground, people were sitting or curled up. At one
point, a holding cell of men was maced and the spray drifted over into our cell
and many women began coughing and experiencing burning in their eyes.

At certain points we were able to make some calls. The system was very
confusing and difficult to navigate. One woman was able to call NLG to report
our names and some folks were able to call their emergency contacts.

At approximately 3am we were given jail uniforms and put in general population.
The protesters were put in different cell blocks. I was in cell block 1 with
approximately 10 other protesters. We were in bunks in a room with
approximately 45 beds. Over the course of the time I was arrested I was strip
searched in a group of 10-15 women two different times. They did this each time
they made us re-enter the general population from the holding cells.

14, No one was given a pin number, which you needed to use the phones. There was
mixed information from the guards about when/if we would be released and
if/when we would be able to use phones.

15, The rooms were freezing cold, Everyone was almost immobilized with the cold.
We were not given sheets, pillows, or socks, We were each given a single blanket,
seemingly all of which had massive rips and holes.

16. There was no soap in the bathroom or toilet paper. We were not given towels or
toothbrushes.

17. We were not fed until 5:15am the following morning.

18. I was released at approximately 8:30pm the following day, despite the fact that we
had our bond hearing via videoconference with a judge at approximately 1:30pm.
I was made to sign all paperwork and attend the bond hearing without my glasses
despite multiple requests to have my glasses returned.

19, When my clothing and glasses were returned to me when I was released, I asked
about the property that the officer who arrested me threw on the ground and left at

the site of my arrest. I was told that was the city police’s problem and I should ask
there.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 12" day of July 2016.

 
Case 3:16-cv-00463-JWD-RLB Document 2-5 07/13/16 Page 17 of 21

Exhibit R
IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF LOUISIANA

American Civil Liberties Union of Louisiana; Louisiana
Chapter of the National Lawyers’ Guild; New Orleans
Workers’ Center for Racial Justice; Black Youth Project
100,

Plaintiffs,
-Vs5-

City of Baton Rouge; Baton Rouge Police Department;
Carl Dabadie, Jr., in his official capacity as Chief of the
Baton Rouge Police Department; Louisiana State Police;
Louisinana Department of Public Safety; Col. Michael
Edmonson, in his official capacity as Superintendent of the
Louisiana State Police; East Baton Rouge Sheriffs
Department; Sid J. Gautreaux HI, in his official capacity as
Sheriff of the East Baton Rouge Sheriff's Department; Jeff
Landry, in his official capacity as Attorney General of the
State of Louisiana; Kip Holden in his official capacity as
the Mayor-President of East Baton Rouge Parish; Hillar C.
Moore, III, in his official capacity as District Attorney for
East Baton Rouge Parish; Department of Public Safety
(Louisiana State Police)

Defendants.

DECLARATION OF COLLEEN HARRIGAN

Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:

 

CIVIL ACTION
NO:

Motion for
Temporary
Restraining Order
and Preliminary
Injunction

Oral Argument
Requested

i. My name is Colleen Harrigan. [ was born on September 10, 1990. 1 am writing this declaration in
support of a temporary restraining order and preliminary injunction filed in federal court to enjoin the
City of Baton Rouge, Baton Rouge Police Department, Louisiana State Police, Louisiana Department of
Public Safety, East Baton Rouge Sheriff's Department, the State of Louisiana and East Baton Rouge
District Attorney’s Office from their ongoing violation of my constitutional rights.

2. 1am aresident of Orleans Parish.

3. [traveled to Baton Rouge, Louisiana on July 10, 2016 to participate in a peaceful march against police
brutality and in protest of Alton Sterling’s homicide. This march was youth-led. Participants included
individuals of all ages and races. There were many families also at the event. [t was beautiful to see so

many parents with their children.

4. The youth-led march started around 4:30 pm. I participated in the march from 5:00 pm until its end. We

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walked toward the Mississippi River on Government, tured right on St. Ferdinand Street, which then
turned into Fourth Street. We took Fourth Street all the way to the Capitol Building.

When the march had returned back to its origin people began to disperse to go home , however there
were so many police I could see them all the way to the horizon. The police had completely blocked the
sidewalks road, and entrance to the highway.

I became scared with the amount of police and tried to leave the march even though J still wanted to
exercise my First Amendment rights and speak out publicly and gather with others against police
brutality and the wrongful killing of Mr. Alton Sterling.

The police officers did not let me get to my car. They corralled myself and others participating in the
march. We were all walking on the sidewalk near the intersection of East Blvd. and Government when
the police corralled us.

The police were completely blocking the sidewalk and the street. No one could come and go. No one
could march and protest.

While people were gathered on the sidewalk, unable to leave or move freely on the sidewalk, I noticed a
police officer put on a gas mask. There was no reason to put on a gas mask, because everyone was
waiting patiently and peacefully for a way to leave. This occurred around 6:07 p.m.

More police came to the area where they had corralled and detained others and myself. The police
totally blocked the sidewalk and street preventing us from continuing to march or leave if we wanted. I
have attached a video documenting when more police came to the area where I was being detained by
the police as Exhibit A.

The police surrounded us with rifles. I was terrified. | did not expect this type of behavior from the
police toward citizens who were peacefully gathering and marching against violence.

The police then arrested a group of protesters who were all on the sidewalk. I have attached a
photograph as Exhibit B that shows these arrested protestors. I took the photograph at about 6:50 p. on
July 10, 2016.

I was able to get out of that area and back to my car. However, there were so many police officers
blocking the street that I could not leave. J asked a police officer if he would let my car out and he told
me that I needed to walk home. When I told him | lived in New Orleans, his response was that I would
need te walk to New Orleans.

A pair of legal observers eventually was able to convince the police to let my car out so that { could
return to New Orleans.

. [have plans to return to future marches, vigils, protests and rallies in Baton Rouge against police

brutality. But the behavior by the Defendants on July 10, 2016 has had a chilling effect on whether I
will return. The police blocking the sidewalks and other public places, and their violence toward
protesters in attempts to disperse them are deterring me from returning.

I do not believe in police violence and am upset by the homicide of Alton Sterling. I want to be able to
lawfully express my concerns and opinions as guaranteed by the First Amendment of the United States
Constitution. I also do not want to be illegally detained, searched and arrested like I was on July 10,
2016. Consequently, | am concerned that because of the political speech that I plan to express should I
return, that [ will be subject to such violations of my constitutional rights as described above by the
named Defendants.

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17. As such, F and the other plaintiffs would like to see this Court enjoin the Defendants from further
activity that violates the publics right to free speech and lawful assembly.

18. i declare under penalty of perjury, that the foregoing is true and correct.

Executed on this 12th day of July 2016.

[aon — —

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